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              Exhibit 28
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  1                               ®Et«ral (PriiEr
                      Date of Issue                Effective Date                Number

                       10 January 2003             10 JANUARY 2003              03-01
Subject                                            File Code
DISCRIMiNATION AND SEXUAL
HARASSMENT                                         «S"
Reference                     Rescinds             Amends                    Distribution


                             87-12                                           All



            PURPOSE:

            The purpose of this General Order is to state the City of Warren's and Warren
            Police Department's position on discrimination and sexual harassment, providing
            guidelines to members of the Department for reporting, Investigating, and
            appropriate actions to be taken when-violations occur. This policy is applicable to
            all employees of the Warren Police Department.

    II.     POLICY:

            It is the policy of this Department that all employees have the right to work in an
            environment free from all forms of harassment. The Department does not condone
            and will not tolerate any harassment or discriminatory behavior. Therefore, the
            Department shall take direct and immediate action to prevent such behavior and to,
            remedy all reported incidents of harassment. All personnel will conduct themselves
            in a professional manner when dealing with other employees.

            Both Title VII of the Civil Rights Act, as amended, and the Elllott-Larsen Civil Rights
            Act require an employer to maintain an atmosphere free of discrimination,
            intimidation and insult based on race, color, religion, sex, age, national origin,
            height, weight, marital status, handicap, disabled Veteran status or Vietnam Veteran
            status.


    III.    DEFINITION:

            A.    Both Title VII of the Civil Rights Act, as amended, and Michigan's Elliott-
                  Larsen Civil Rights Act prohibit sexual harassment in the workplace. Sexual
                  harassment can be any unwelcome sexual advance, request for sexual favor
                  or other verbal or physical conduct of a sexual nature. Employers and
                  employees who disregard or treat sexual harassment complaints lightly will
                   be subjecting thernselves to greater liability.
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      B.    There are two types of sexual harassment cases:

            1.    Quid Pro Quo fsomethino for somethina). when a supervisor or other
                  employee makes the submission to requests for sexual favors a
                  condition of employment, promotion, preferred or disfavored
                  treatment. For example: It is sexuarharassment when a supervisor
                  explicitly or implicitly threatens to fire, demote, transfer, fail to promote
                  or otherwise adversely affect an employee if he or she does not
                  submit to the sexual demands.

            2.    Hostile work environment harassment exists when the actions of a
                  supervisor or co-worker create an intimidating, hostile or offensive
                  employment environment. This is known as "offensive environment"
                  sexual harassment. The comments or conduct have the purpose or
                  effect of unreasonably interfering with an individual's work
                  performance or creates an intimidating, hostile or offensive working
                  environment. It is important to remember that "offensive environment"
                  sexual harassment is determined by looking at the behavior according
                  to the complainino emolovee's perception. Here is a list of behaviors
                  that fall into the "offensive environment" category:
                  (a)    Physically forcing sexual activity on another; including assault,
                         battery and criminal sexual conduct
                  (b)    Whistling or catcalling
                  (c)    Pinching or patting
                  (d)    Unwelcome hugging, kissing
                  (e)    Soliciting or pressuring another to sit on your knee or lap
                  (f)    Intentionally brushing up against another
                  (g)    Vulgar or obscene jokes or language
                  (h)    Repeatedly asking another for a date after you've been turned
                         down
                  (i)     Referring to another in demeaning terms; such as, "sweetie,"
                         "doll," "hunk," babe"
                  (j)     Displaying pictures and pinups from magazines; such as,
                         "Playgirl" or "Playboy"
                  (k)     Revealing one's genitals to others
                  (1)    Starting and spreading rumors about the sex life of another
                         employee

             3.    Gender Harassment of an individual because of their gender is
                   unlawful regardless of whether the harassment Is sexual in nature.
             4.    Title VII also applies to situations of same sex harassment cases.
             5.    Unwelcome means that the individual did not solicit or incite the
                   conduct and regards it as undesirable.

             6.    A claimant/victim does not have to be the person at whom the
                   offensive conduct is directed but can be anyone affected by the
                   conduct.
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 IV..   PROCEDURE:

        A.   Prohibited Activity

             1.    Employees shall not make offensive or derogatory comments based
                   on race, color, gender, religion, national origin, handicap or Veterans
                   status either directly or indirectly to another person. Such harassment
                    is a prohibited form of discrimination under federal and state
                    employment laws and is also considered misconduct subject to
                    disciplinary action by this Department and the City of Warren.
             2.     Employees shall not sexually harass, make requests for sexual favors
                    or use other verbal or physical conduct of a sexual nature when:
                   (a)     Submission to such conduct is explicitly or implicitly a condition
                           of employment, or
                   (b)     Submission to or rejection of such conduct is a basis for an
                           employment decision affecting the individual, or
                   (c)     Such conduct has the purpose or affect of reasonably
                           interfering with an employee's work performance or creating an
                           intimidating, hostile or offensive working environment.

        B.   Employee Responsibility
             1.     Each employee of this Department is responsible for assisting In the
                    prevention of harassment by:
                   (a)     Refraining from participation in or encouragement of actions
                           that could be perceived as harassment
                    (b)    Reporting acts of harassment to a supervisor
                    (c)    Assisting any employee who confides that they are being
                           harassed by encouraging them to report It.

             2.     Each supervisor shall be responsible for preventing acts of
                    harassment. This responsibility includes:
                    (b)    Monitoring the work environment for signs that harassment may
                           be occurring
                    (c)    Counseling employees on the types of behavior prohibited and
                           the Department's procedures for reporting and resolving
                           complaints
                    (d)    Stopping any observed acts that may be considered
                           harassment and taking appropriate steps to intervene whether
                           or not the involved employees are within their line of
                           supervision
                    (e)    Taking immediate action to limit the work contact between two
                           employees where there has been a complaint of harassment
                            pending investigation.

             3.     Each supervisor has the responsibility to assist any employee of the
                    Department who comes to that supervisor with a complaint of
                    harassment In documenting and filing a complaint through the internal
                    investigation process. Failure to report or take appropriate action
                    regarding known incidents will also be grounds for disciplinary action.
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       C.     Complaint Procedure

              1.      Employees encountering harassment should communicate to the
                      other party that the actions are unwelcome and offensive. The
                      employee should document all incidents of harassment in order to
                      provide the fullest basis for investigation.

              2.      Any employee who believes that they are being harassed should
                      report the incident(s) to a supervisor as soon as possible so steps can
                      be taken to protect the employee from further harassment and
                      appropriate investigative steps can be initiated. Where this is not
                      practical, the employee may report the offense to another supervisor,
                      the Chiefs Office or to the Equal Employment Opportunity Officer for
                      the City of Warren, which is the assistant personnel director. If an
                      individual has a complaint against their immediate supervisor, the
                      individual may bring the incident(s) to the attention of the supervisor's
                      immediate supervisor, department head or Chief of Police. If the
                      complaint involves the department head, the Mayor's Office or EEO
                      Officer may be notified.

              3.      The complaint shall be in writing.

              4.      Upon receiving a complaint or notification of discrimination or sexual
                      harassment, the Department shall:
                      (a)   Investigate all complaints to substantiate the complaint
                            following guidelines of Department's Personnel Complaint
                             Procedure in General Order 02-021
                      (b)    Once substantiated, notify the individual of the complaint and of
                             the penalties which may be imposed for such conduct
                      (c)    Recommend appropriate corrective action

              5.      Any individual against whom a complaint is brought may contest the
                      determination, in writing, to the governing Civil Service Commission or
                      the Collective Bargaining Unit.

              6.      The supervisor or Department head shall impose discipline when a
                      complaint of discriminatory or harassing conduct is substantiated,
                      using appropriate disciplinary measures up to and including
                      termination, depending on the seriousness of the offense.




        .ouis J. Na,rai
       POLICE COMMISSIONER

       LJN/dd
